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                                  KP-0444
                              
                        
          
        
      
    
  

  

  
    
      KP-0444
              Ken Paxton
                  
        Categories
                        
Elections
              , 
Propositions
              , 
Municipalities
              , 
Taxes and Fees
              , 
Taxes and Taxation - Political Subdivisions
        
      
            
                  Summary
                      Addressing the authority of a municipality to utilize a maintenance and operations tax increase authorized in an election under Tax Code section 26.07 for use other than on maintenance and operations.
      
                          
            Opinion File
                         kp-0444.pdf 

      
          
                
        
      
    

          
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    RQ-0508-KP

      
  
                May 10, 2023

      
  
      
      
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                     RQ0508KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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            PO Box 12548Austin, TX 78711-2548
          
        

      
      

        
          
                    
    
      
              
                              
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